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                                               2059
                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 24-2907

                                       Marcellus S. Williams

                                                     Appellant

                                                v.

                                         David Vandergriff

                                                     Appellee

______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:05-cv-01474-RWS)
______________________________________________________________________________

                                           MANDATE

       In accordance with the Court’s order and judgment of September 21, 2024, and pursuant

to the provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby

issued in the above-styled matter.

                                                      September 22, 2024




Acting Clerk, U.S. Court of Appeals, Eighth Circuit




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